                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 UNITED STATES OF AMERICA,                            )
                                                      )
                        Plaintiff,                    )
                                                      )
 v.                                                   )           No. 3:07-CR-51
                                                      )           (Phillips / Shirley)
 AARON BROOKS,                                        )
                                                      )
                        Defendant.                    )

                                 MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate. On September 14, 2007, the defendant by and through counsel made

 an oral Motion requesting a furlough to attend the birth of his first child whose due date is

 September 21, 2007. Defendant did not know at which hospital the child was to be born. Defendant

 is currently detained. The Court has consulted with the United States Marshal Service regarding this

 request. The undersigned has great sympathy for the defendant. However, given the short time

 frame, the manpower problems, security risks inherent in the request, and costs involved, the court

 does not deem this request to be reasonable in light of the extraordinary efforts required to

 accommodate defendant’s request and at the same time protect the public and large number of

 persons at whatever hospital is involved, and try to provide security in such inherently unsecure

 locations. Further the Court previously found that the defendant’s lengthy and serious prior criminal

 history of serious felonies coupled with his noncompliance with Court attendance and his presence

 in this case with significant drug quantities, money and guns all made him a serious risk of safety

 and a danger to the community as well as risk of flight. Accordingly, the Court finds that the

                                                  1

Case 3:07-cr-00051-TAV-JEM           Document 199         Filed 09/17/07      Page 1 of 2     PageID
                                           #: 204
 dangers and security issues attendant thereto are too great to grant defendant’s request. Accordingly,

 the defendant’s Oral Motion To Allow Attendance Of Birth Of First Child is DENIED.

                IT IS SO ORDERED.

                                                       ENTER:


                                                         s/ C. Clifford Shirley, Jr.
                                                       United States Magistrate Judge




                                                   2

Case 3:07-cr-00051-TAV-JEM            Document 199          Filed 09/17/07     Page 2 of 2     PageID
                                            #: 205
